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        x         Debtor incurred significant and unexpected medical expenses for himself(back issues)
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          x           The medical issue is now under control and there are no further medical expenses
                      expected.



          x




                                                         s/Christian B. Felden
  July 26, 2018
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                                UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                      WILMINGTON DIVISION

 IN RE:                                                              CASE NO. 18-03333-5-SWH
                                                                     CHAPTER 13
  Charlie Jacob Sammis
  1012 Steeplechase Road
  Wilmington, NC 28412-7206
  SSN: xxx-xx-3814




 DEBTOR

                      NOTICE OF MOTION AND CERTIFICATE OF SERVICE

 TO: All Parties In Interest

           NOTICE IS HEREBY GIVEN of the Motion For An Order Continuing the Automatic Stay of
 Section 362 filed simultaneously herewith by the attorney for the movant in the above-captioned case;
 and
          FURTHER NOTICE IS HEREBY GIVEN that objections to the proposed Motion may be filed
 with the Clerk, U.S. Bankruptcy Court – EDNC, P O Box 791, Raleigh, North Carolina 27602, with a
                                                                                          FOUR (14)
 copy served on the attorney whose name appears on the bottom of this Notice, within fourteen     (4) days
 of the mailing of this notice. A hearing will be conducted on said objection unless the Court, in its
 discretion, deems a hearing unnecessary, or unless a hearing is requested by the party filing such request.
 If a hearing is required, it will be held on __July 31, 2018__ at 10:00AM, at US Bankruptcy Court,
 Century Station Federal Building, Second Floor Courtroom, 300 Fayetteville Street, Raleigh, North
 Carolina, 27601. Any party requesting a hearing shall appear at said hearing in support of such request or
 he may be assessed with Court costs. If no request for hearing is timely fixed, the Court may rule on the
 Motion and response thereto ex parte without further notice.

 DATE OF NOTICE: July 26, 2018                    _S/Christian B. Felden_
                                                  Christian B. Felden, Esquire
                                                  North Carolina Bar No. 37438
                                                  FELDEN and FELDEN, P.A.
                                                  Attorney for the Debtor
                                                  PO Box 1399
                                                  Jacksonville, NC 28541-1399
                                                  (888)808-9291
                                                  (888) 808-9991fax
                                                  cbfelden@feldenandfelden.com
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                                        CERTIFICATE OF SERVICE

         I, Christian B. Felden, Attorney at Law certify:

         That I am, and at all time hereinafter mentioned was, more than 18 years of age.

          That on the 26th day of July, 2018. Copies of the foregoing Motion and Notice were served upon
 the following by depositing the same in the United States mail, postage pre-paid, addressed as follows:

 Joseph A. Bledsoe, III, By electronic mail
 And IJohnson@rms13.org
 PO Box 1618
 Chapter 13 Trustee
 New Bern, NC 28563-1618

 Charlie Jacob Sammis
 1012 Steeplechase Rd
 Wilmington, NC 28412-7206

         all parties on attached matrix.

         I certify under penalty of perjury that the foregoing is true and correct.


 DATED: July 26, 2018                              _S/Christian B. Felden______________________
                                                   Christian B. Felden, Esquire




                                                       2
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Label Matrix for local noticing         U. S. Bankruptcy Court                     AT&T
0417-5                                  300 Fayetteville Street, 4th Floor         PO Box 537104
Case 18-03333-5-SWH                     P.O. Box 791                               Atlanta, GA 30353-7104
Eastern District of North Carolina      Raleigh, NC 27602-0791
Raleigh
Thu Jul 26 14:12:55 EDT 2018
Ad Astra Recovery                       Bridge Property Mgmt, LLC                  Bug N A Rug
7330 W 33rd St N Ste 118                111 E Sego Lily Dr Ste 400                 670 Wellington Ave
Wichita, KS 67205-9370                  Sandy, UT 84070-4422                       Wilmington, NC 28401-7614



CMG GROUP LLC - BMG                     Casa Linda Furniture, Inc                  Chrysler Capital
WILLIAMSON AND BROWN,LLC                4815 Whittier Blvd                         P.O. Box 961275
4691 Clifton Pkwy                       Los Angeles, CA 90022-3023                 Fort Worth, TX 76161-0275
Hamburg, NY 14075-3201


Chrysler Capital                        Client Service, Inc                        Coastal Carolina Surgical Associates, PA
PO Box 961279                           3451 Harry S Truman Blvd                   1411 Physicians Drive
Fort Worth, TX 76161-0279               Saint Charles, MO 63301-9816               Wilmington, NC 28401-7338



Coastal Finance Co, Inc                 Coastal Surgery Specialists/Dr. Weinberg   Columbia Anesthesia Group
3602 Market St                          1411 Physicians Dr                         400 NE Mother Joseph Pl
Wilmington, NC 28403-1326               Wilmington, NC 28401-7338                  Vancouver, WA 98664-3200



Columbia Collectors                     Credit First NA                            Duke Energy Progress
1104 Main St Ste 311                    PO Box 81344                               PO Box 1771
Vancouver, WA 98660-2955                Cleveland, OH 44188-0001                   Raleigh, NC 27602-1771



ECEPII, PA                              Enhanced Recovery Corp                     Financial Data Services
4402 Shipyard Blvd                      8014 Bayberry Rd                           PO Box 688
Wilmington, NC 28403-6161               Jacksonville, FL 32256-7412                Wrightsville Beach, NC 28480-0688



First Mortgage Company, LLC             First Premier Bank                         Flagship Credit Acceptance
PO Box 14576                            3820 N Louise Ave                          PO Box 3807
Oklahoma City, OK 73113-0576            Sioux Falls, SD 57107-0145                 Coppell, TX 75019-4354



Ford Dental Group                       Gillespie and Murphy                       (p)GOLD KEY CREDIT INC
PO Box 5790                             PO Box 888                                 PO BOX 15670
Huntington Beach, CA 92615-5790         New Bern, NC 28563-0888                    BROOKSVILLE FL 34604-0122



Hunter Werfield                         IC Systems                                 Lendmark Financial Services
4620 Woodland Corporate Blvd            PO Box 64378                               5120 S College Rd Ste 115
Tampa, FL 33614-2415                    Saint Paul, MN 55164-0378                  Wilmington, NC 28412-2268
             Case 18-03333-5-SWH                Doc 17 Filed 07/26/18 Entered 07/26/18 14:34:45                          Page 7 of 8
MEDAC                                                Midland Funding, LLC                                 New Hanover Regional Medical Center
4402 Shipyard Blvd                                   PO Box 939069                                        PO Box 9000
Wilmington, NC 28403-6161                            San Diego, CA 92193-9069                             Wilmington, NC 28402-9000



O’Brien Service Company, Inc                         Online Collection Services                           PMAB, LLC
PO Box 12788                                         PO Box 1489                                          4135 Southstream Blvd Ste 400
Wilmington, NC 28405-0138                            Winterville, NC 28590-1489                           Charlotte, NC 28217-4636



Paragon Revenue Group                                Rapid Cash                                           Regional Finance
216 Le Phillip Ct NE                                 3849 SE Powell Blvd                                  2316 S 17th St Ste 120
Concord, NC 28025-2954                               Portland, OR 97202-1719                              Wilmington, NC 28401-7913



Solstas Lab Partners                                 (p)SPRINT NEXTEL CORRESPONDENCE                      Stern Recovery Services
PO Box 35907                                         ATTN BANKRUPTCY DEPT                                 415 N Edgeworth St Ste 210
Greensboro, NC 27425-5907                            PO BOX 7949                                          Greensboro, NC 27401-2071
                                                     OVERLAND PARK KS 66207-0949


SunTrust Bank                                        T Mobile/T-Mobile USA Inc                            TEN DOLLAR PAYDAY LOAN.COM
Attn: Support Services                               by American InfoSource LP as agent                   WILLIAMSON AND BROWN,LLC
PO Box 85092                                         PO Box 248848                                        4691 Clifton Pkwy
Richmond, VA 23285-5092                              Oklahoma City, OK 73124-8848                         Hamburg, NY 14075-3201


TekCollect                                           Time Financing Service                               US Department of Education
PO Box 1269                                          1950 S 17th St                                       PO Box 7860
Columbus, OH 43216-1269                              Wilmington, NC 28401-6627                            Madison, WI 53707-7860



Wilmington Pathology Associates, PA                  Charlie Jacob Sammis                                 Christian Bennett Felden
1915 S 17th St Ste 100                               1012 Steeplechase Rd                                 Felden and Felden, P.A.
Wilmington, NC 28401-6683                            Wilmington, NC 28412-7206                            P.O. Box 1399
                                                                                                          Jacksonville, NC 28541-1399


Joseph A. Bledsoe III
PO Box 1618
New Bern, NC 28563-1618




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Goldkey Credit, Inc                                  Sprint
PO Box 15670                                         6391 Sprint Pkwy
Brooksville, FL 34604-0122                           Overland Park, KS 66251-6100
             Case 18-03333-5-SWH                Doc 17 Filed 07/26/18 Entered 07/26/18 14:34:45                          Page 8 of 8


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)First Mortgage Company, LLC                       End of Label Matrix
                                                     Mailable recipients    51
                                                     Bypassed recipients     1
                                                     Total                  52
